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                             UNITED STATES BANKRUPTCY COURT                      SF00075 (rev 05/2008)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                               Case Number:
       SSN: NA               EIN: NA                         10−93904−BHL−11
    Debtor(s)

                                 NOTICE OF DEFICIENT FILING

      The Motion to Withdraw as Attorney, which was filed on April 21, 2011, is deficient in the
following respect(s):
      PDF and docket text do not match.

       The above−cited deficiencies must be corrected by May 5, 2011 or the matter will be
referred to the Judge for such action as may be appropriate, including dismissal.

    IF CURING THE DEFICIENCY BY PAPER FILING, INCLUDE A COPY OF THIS
NOTICE.

Dated: April 21, 2011                              KEVIN P. DEMPSEY, CLERK
                                                   U.S. BANKRUPTCY COURT
